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 8                               IN THE UNITED STATES DISTRICT COURT

 9                             FOR THE EASTERN DISTRICT OF CALIFORNIA

10

11 DAVID MCDANIEL ,                                          No. 1:20−CV−00856−JLT−SAB

12                              Plaintiff,
                                                             ORDER OF REASSIGNMENT
13                v.

14 RALPH DIAZ , ET AL. ,

15                              Defendant.
                                                       /
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17        The court, having considered the appointment of District Judge Jennifer L. Thurston, finds the

18 necessity for reassignment of the above captioned case, and for notice to be given to the affected parties.

19        IT IS THEREFORE ORDERED that the above captioned case shall be and is hereby

20 REASSIGNED from Unassigned DJ to District Judge Jennifer L. Thurston

21 for all further proceedings. The new case number for this action, which must be used on all documents

22 filed with the court is:                  1:20−CV−00856−JLT−SAB

23        All dates currently set in this reassigned action shall remain pending subject to further

24 order of the court.

25            DATED: January 7, 2022

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